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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


JAMES BLASSINGAME, et al.,
                  Plaintiffs,
                                               Case No. 1:21-cv-00858-APM
      vs.
DONALD J. TRUMP,
                  Defendant.


SANDRA GARZA,
                  Plaintiff,
                                               Case No. 1:23-cv-00038-APM
      vs.
DONALD J. TRUMP, et al.,
                  Defendants.


BRIAN KIRKLAND,
                  Plaintiff,
                                               Case No. 1:22-cv-00034-APM
      vs.
DONALD J. TRUMP,
                  Defendant.



BARBARA J. LEE, et al.,
                  Plaintiff,
                                               Case No. 1:21-cv-00400-APM
      vs.
DONALD J. TRUMP, et al.,
                  Defendants.




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MARCUS J. MOORE,
                      Plaintiff,
                                                        Case No. 1:22-cv-00010-APM
       vs.
DONALD J. TRUMP,
                      Defendant.


CONRAD SMITH, et al.,
                      Plaintiffs,
                                                         Case No. 1:21-cv-2265-APM
       vs.
DONALD J. TRUMP, et al.,
                      Defendants.

ERIC SWALWELL,
                      Plaintiff,
                                                        Case No. 1:21-cv-00586-APM
       vs.
DONALD J. TRUMP, et al.,
                      Defendants.

BOBBY TABRON, et al.,
                      Plaintiffs,
                                                        Case No. 1:22-cv-00011-APM
       vs.
DONALD J. TRUMP,
                      Defendant.




                                    JOINT STATUS REPORT

       As directed by this Court on March 25, 2025, the parties have conferred and jointly

prepared the following Joint Status Report and proposed schedule for resolving the United



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States’ notices of Westfall Act substitution and the plaintiffs’ request for discovery to challenge

the substitution.

                             STATEMENT OF THE PLAINTIFFS

       Procedure to address substitution of parties. Plaintiffs challenge the Government’s

substitution of itself as a party in place of Defendant Trump on the D.C. common law claims. To

resolve that issue, Plaintiffs propose the following procedure, which takes into account the

advanced stage of litigation in these cases, the record already developed in the course of the

presidential-immunity litigation, and the need for efficiency.

       -   By May 14, Plaintiffs will file a motion to strike the Government’s substitution of

           parties. This motion will be supported by evidence from the now-closed discovery

           and evidentiary record developed in the presidential-immunity litigation. That is,

           Plaintiffs may cite to evidence cited in briefing by either party, or exchanged between

           the Plaintiffs and Defendant Trump, in the course of the presidential-immunity

           litigation.

       -   By June 11, the Government will file its response. As with Plaintiffs’ motion, the

           Government may cite to evidence cited in briefing by either party, or exchanged

           between the Plaintiffs and Defendant Trump, in the course of the presidential-

           immunity litigation.

       -   By June 27, Plaintiffs will file their reply, which may rely on the same scope of

           evidence.

       In suggesting the foregoing, Plaintiffs agree with the Government that the scope of

available evidence be limited to that developed on presidential immunity. Plaintiffs do not

propose to allow parties to take additional discovery.



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       The substitution issue should be resolved before litigating a motion to dismiss.

Plaintiffs urge that the Court resolve the scope-of-employment issue before allowing the

Government to file a motion to dismiss and requiring the parties to litigate the issues raised

therein. If the Court concludes that Defendant Trump did not act within the scope of his

employment, then the Government would not remain a party to these actions, and there would be

no need to address the issues raised in a motion to dismiss. The limited time and resources of the

parties and the court would be wasted on litigating a motion to dismiss before resolving the

scope-of-employment issue. This sequencing may differ from cases in which the Government

notices its substitution for an individual defendant earlier in the proceedings, but here, the

Government has waited four years to notice its substitution, has not yet filed a motion to dismiss,

and there is a developed record from the presidential-immunity proceedings on which the parties

can readily rely to efficiently resolve the scope-of-employment issue. Under the circumstances

presented by these consolidated cases, resolving the scope issue first is the fairer and more

efficient way forward.

                           STATEMENT OF THE UNITED STATES

I.     Proposed Briefing Schedules.

       While the United States does not object to the plaintiffs’ proposed briefing schedule to

resolve the Government’s notice of Westfall Act substitution, the United States requests that the

Court adopt the same briefing schedule for the United States’ forthcoming motion to dismiss,

which will allow for the simultaneous briefing of related issues concerning scope of employment

and the Government’s threshold sovereign immunity and jurisdictional defenses under the

Federal Tort Claims Act.

II.    Objection to Discovery on Westfall Scope Challenge.



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        1.      “[T]here is no right to even limited discovery in a Westfall Act case unless and

until a plaintiff alleges sufficient facts to rebut the Government’s certification.” Wuterich v.

Murtha, 562 F.3d 375, 382 (D.C. Cir. 2009) (vacating order authorizing discovery to challenge

Westfall substitution); see also Jacobs v. Vrobel, 724 F.3d 217, 221 (D.C. Cir. 2013) (limited

discovery permissible only if plaintiff alleges specific facts establishing conduct was outside the

scope of employment). In cases involving high-ranking government officials, courts within this

Circuit have repeatedly denied requests for discovery to support a Westfall scope challenge

because executive and legislative branch officials are authorized and expected to speak on

matters of public concern. See e.g., Wilson v. Libby, 535 F.3d 697, 712 & n.2 (D.C. Cir. 2008)

(affirming district court’s refusal to allow discovery to support Westfall challenge in case

involving alleged tortious statements by high-ranking Executive Branch officials to the media).

        2.      This is true even where plaintiffs allege the government official’s conduct

covered by the Westfall Act had some degree of personal motive. See Wuterich, 562 F.3d at 384-

85 (no discovery permitted for scope certification in case involving congressman’s allegedly

defamatory statements to the media, even assuming congressman was partially motivated by a

personal desire to embarrass the Secretary of Defense); Black Lives Matter D.C. v. United States,

No. 20-CV-1469 (DLF) (LEAD), 2025 WL 823903, at *7 (D.D.C. Mar. 14, 2025) (refusing to

permit discovery for Westfall challenge to certification of the President’s response to protests in

Lafayette Square, even assuming the President was partially motivated by a personal desire to

“bolster his . . . his re-election campaign”).

        3.      Additionally, district courts in this Circuit have denied discovery to challenge a

scope certification where the breadth of the officials’ responsibilities render the alleged conduct

within the scope of employment. See Black Lives Matter D.C., 2025 WL 823903, at *8 (denying



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discovery to support Westfall challenge, reasoning that the President’s own statements reflected

at least a partial motive to execute his duty, as head of the Executive Branch, to maintain

national security); Smith v. Clinton, 253 F. Supp. 3d 222 (D.D.C. 2017) (denying discovery in

connection with Westfall certification of Secretary of State’s use of a private email server,

reasoning that “her actions—communicating with other State Department personnel and advisors

about the official business of the department—fall squarely within the scope of her duty to run

the Department and conduct the foreign affairs of the nation as Secretary of State.”).

       4.       In resolving whether the alleged conduct was within the scope of the government

official’s employment, the focus is on the type of act that allegedly gave rise to the tort, not the

alleged illegal or improper nature of the act. Wilson, 535 F.3d at 712; Black Lives Matter D.C.,

2025 WL 823903, at *6; Clinton, 253 F. Supp. 3d at 228. Here, the plaintiffs assert state-law tort

claims against the President arising out of his statements to public officials and the American

people on matters of public concern—including the fairness and integrity of federal elections.

Regardless of the President’s status as a candidate for re-election, the complaints’ allegations fail

to demonstrate that this conduct falls outside “the President’s duty to ‘take Care that the laws be

faithfully executed,’” Trump v. United States, 603 U.S. 593, 626-27 (2024) (quoting Art. II, § 3),

or that such statements are not at least incidental to, or of “the same general nature as,” the

President’s authorized duties. See Council on Am. Islamic Rels. v. Ballenger, 444 F.3d 659, 664

(D.C. Cir. 2006) (“To qualify as conduct of the kind he was employed to perform, the

defendant’s actions must have either been of the same general nature as that authorized or

incidental to the conduct authorized.”) (cleaned up); Trump v. Carroll, 292 A.2d 220, 230 (D.C.

2023) (same).




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         5.     Plaintiffs have not articulated any reason to resort to the immunity discovery to

resolve scope of employment. If the plaintiffs are entitled to use the immunity discovery at all

(they are not), then D.C. federal courts have repeatedly stressed that the use of discovery must be

limited and specifically targeted only to the issues bearing on resolving scope of employment.

See Council on Am. Islamic Rels. v. Ballenger, No. 1:03-cv-02488 (D.D.C.), ECF No. 24

(denying discovery beyond two affidavits in challenge to Westfall certification of allegedly

defamatory statements to the media by member of Congress). Here, plaintiffs have not identified

any limitations on the use of the voluminous discovery on immunity that has already taken place.

This discovery includes:

        More than 10,000 pages of documents produced.

        310 RFAs responded to by the President.

        105 interrogatories responded to by the President.

        Depositions of the President’s campaign manager and senior advisor.

        Sworn declarations provided by the President’s campaign manager and senior advisor.

         The voluminous discovery already taken—in addition to the courts’ consistent command

for “limited” (if any) discovery to support a Westfall scope challenge—demonstrates that

unlimited use of the immunity discovery should not be permitted in resolving the Government’s

certification and substitution in this case.



Dated: April 9, 2025

                                                      Respectfully submitted,

                                                      YAAKOV M. ROTH
                                                      Acting Assistant Attorney General
                                                      Civil Division


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                                    C. SALVATORE D’ALESSIO, JR.
                                    Director
                                    Torts Branch, Civil Division

                                    REGINALD M. SKINNER
                                    Senior Trial Attorney


                                    /s/ John B. F. Martin
                                    John B. F. Martin, NY Bar No. 4682928
                                    Trial Attorney, Constitutional Torts Staff
                                    Torts Branch, Civil Division
                                    U.S. Department of Justice
                                    Ben Franklin Station, P.O. Box 7146
                                    Washington, D.C. 20044-7146
                                    T: (202) 616-4492; F: (202) 616-4314
                                    John.b.martin@usdoj.gov

                                    Attorneys for the United States

                                    /s/ Joseph Sellers
                                    Joseph M. Sellers, Bar No. 318410
                                    Brian Corman, Bar No. 1008635
                                    Alison S. Deich, Bar No. 1572878
                                    COHEN MILSTEIN SELLERS & TOLL
                                    PLLC
                                    1100 New York Avenue N.W. Fifth Floor
                                    Washington, D.C. 20005
                                    Telephone: 202-408-4600
                                    Facsimile: 202-408-4699
                                    jsellers@cohenmilstein.com
                                    bcorman@cohenmilstein.com
                                    adeich@cohenmilstein.com


                                    Janette McCarthy-Wallace, Bar
                                    No.OH066257
                                    Anthony P. Ashton, Bar No. MD25220
                                    Anna Kathryn Barnes Barry, DC Bar no.
                                    1719493
                                    NAACP Office of General Counsel
                                    4805 Mount Hope Drive
                                    Baltimore, MD 21215
                                    Telephone: 410-580-5777
                                    jlouard@naacpnet.org
                                    aashton@naacpnet.org
                                    abarnes@naacpnet.org

                                    Attorneys for Plaintiffs Barbara J. Lee, et
                                    al.

                                    /s/ Matthew Kaiser
                                    Matthew Kaiser, D.C. Bar No. 28627

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Case 1:21-cv-00400-APM   Document 170    Filed 04/09/25      Page 9 of 12



                                    Sarah Fin, D.C. Nar No. 166663
                                    KAISER PLLC
                                    1099 Fourteenth Street N.W.
                                    8th Floor
                                    Washington, DC 20005
                                    Telephone: 202-640-2850
                                    mkaiser@kaiserlaw.com
                                    sfink@kaiserlaw.com

                                    Philip Andonian, D.C. Bar No. 490792
                                    Joseph Caleb, D.C. Bar No. 495383
                                    CALEBANDONIAN PLLC
                                    1100 H Street N.W., Suite 315
                                    Washington, DC 20005
                                    Telephone: 202-953-9850
                                    phil@calebandonian.com
                                    joe@calebandonian.com

                                    Attorneys for Plaintiff Eric Swalwell

                                    /s/ Patrick Malone
                                    Patrick A. Malone, Bar No. 397142
                                    Daniel Scialpi, Bar No. 997556
                                    (application for admission forthcoming)
                                    PATRICK MALONE & ASSOCIATES
                                    1310 L Street N.W. Suite 800
                                    Washington, DC 20005
                                    Telephone: 202-742-1500
                                    Facsimile: 202-742-1515
                                    pmalone@patrickmalonelaw.com
                                    dscialpi@patrickmalonelaw.com

                                    Cameron Kistler, Bar No. 1008922
                                    Kristy Parker, Bar No. 1542111
                                    Erica Newland, Bar No. MD0141
                                    UNITED TO PROTECT DEMOCRACY
                                    2020 Pennsylvania Avenue N.W.
                                    #163
                                    Washington, DC 20006
                                    Telephone: 202-579-4582
                                    Cameron.kistler@protectdemocracy.org
                                    kristy.parker@protectdemocracy.org
                                    erica.newland@protectdemocracy.org

                                    Genevieve C. Nadeau, Bar No. 979410
                                    UNITED TO PROTECT DEMOCRACY
                                    15 Main Street, Suite 312
                                    Watertown, MA 02472
                                    Telephone: 202-579-4582
                                    genevieve.nadeau@protectdemocracy.org

                                    Attorneys for Plaintiffs James Blassingame
                                    and Sidney Hemby

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                                     /s/ Edward Kaspar
                                     Edward G. Kaspar, D.C. Bar No. 1644168
                                     David Brody, D.C. Bar No. 1021476
                                     Marc P. Epstein, D.C. Bar No. 90003967
                                     LAWYERS’ COMMITTEE FOR CIVIL
                                     RIGHTS UNDER LAW
                                     1500 K Street N.W. Suite 900
                                     Washington, DC 20005
                                     Telephone: 202-662-8390
                                     ecaspar@lawyerscommittee.org
                                     dbrody@lawyerscommittee.org
                                     mepstein@lawyerscommittee.org

                                     Faith E. Gay, pro hac vice
                                     Joshua S. Margolin, pro hac vice
                                     Claire O’Brien, pro hac vice
                                     Elizabeth H. Snow, pro hac vice
                                     Babak Ghafarzade, pro hac vice
                                     Esther D. Ness, pro hac vice
                                     SELENDY GAY PLLC
                                     1290 Avenue of the Americas
                                     New York, NY 10104
                                     Telephone: 212-390-9000
                                     fgay@selendygay.com
                                     jmargolin@selendygay.com
                                     cobrien@selendygay.com
                                     esnow@selendygay.com
                                     bghafarzade@selendygay.com
                                     eness@selendygay.com

                                     William J. Blechman, pro hac vice
                                     Elizabeth B. Honkonen, pro hac vice
                                     KENNY NACKWALTER, P.A.
                                     Four Seasons Tower – Suite 1100
                                     1441 Brickwell Avenue
                                     Miami, FL 33131
                                     Telephone: 305-373-1000
                                     wblechman@knpa.com
                                     ehonkonen@knpa.com

                                     Attorneys for Plaintiffs Conrad Smith, et al.


                                     /s/ Mark Zaid
                                     Mark S. Zaid, Esq., D.C. Bar No. 440532
                                     Bradley P. Moss, Esq., D.C. Bar No. 975905
                                     MARK S. ZAID, P.C.
                                     1250 Connecticut Avenue N.W. Suite 700
                                     Washington, DC 20036
                                     Telephone: 202-498-0011
                                     Facsimile: 202-330-5610
                                     mark@markzaid.com
                                     brad@markzaid.com

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                                                     Matthew Kaiser, D.C. Bar No. 28627
                                                     Sarah Fin, D.C. Nar No. 166663
                                                     KAISER PLLC
                                                     1099 Fourteenth Street N.W.
                                                     8th Floor
                                                     Washington, DC 20005
                                                     Telephone: 202-640-2850
                                                     mkaiser@kaiserlaw.com
                                                     sfink@kaiserlaw.com

                                                     Philip Andonian, D.C. Bar No. 490792
                                                     Joseph Caleb, D.C. Bar No. 495383
                                                     CALEBANDONIAN PLLC
                                                     1100 H Street N.W., Suite 315
                                                     Washington, DC 20005
                                                     Telephone: 202-953-9850
                                                     phil@calebandonian.com
                                                     joe@calebandonian.com

                                                     Attorneys for Plaintiff Sandra Garza


                                                     /s/ Patrick Malone
                                                     Patrick A. Malone, Bar No. 397142
                                                     Daniel Scialpi, Bar No. 997556
                                                     (application for admission forthcoming)
                                                     PATRICK MALONE & ASSOCIATES
                                                     1310 L Street N.W. Suite 800
                                                     Washington, DC 20005
                                                     Telephone: 202-742-1500
                                                     Facsimile: 202-742-1515
                                                     pmalone@patrickmalonelaw.com
                                                     dscialpi@patrickmalonelaw.com

                                                     Attorneys for Plaintiffs Marcus J. Moore, et
                                                     al.; Bobby Tabron, et al.; and Briana
                                                     Kirkland, et al.


                              CERTIFICATION OF SERVICE

       I hereby certify that on April 9, 2025, the foregoing Joint Status Report was filed

electronically through ECF/CM, served on ECF participating parties via ECF, and served on

non-ECF participants by mail or other appropriate means.

                                             /s/ John B. F. Martin
                                             JOHN B. F. MARTIN
                                             NY Bar No. 4682928
                                             Trial Attorney
                                             U.S. Department of Justice
                                             Civil Division, Torts Branch
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                              175 N Street NE
                              Washington, DC 20002
                              Tel: 202-305-8049
                              Fax: 202-616-4314
                              john.b.martin@usdoj.gov


                              Attorney for United States of America




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